

People v Shawn N. (2023 NY Slip Op 00185)





People v Shawn N.


2023 NY Slip Op 00185


Decided on January 17, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 17, 2023

Before: Kapnick, J.P., Friedman, Kennedy, Mendez, Shulman, JJ. 


Ind. No. 2010/17 Appeal No. 17100 Case No. 2018-2450 

[*1]The People of the State of New York, Respondent,
vShawn N., Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Hannah Gladstein of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Rafael A. Curbelo of counsel), for respondent.



Judgment, Supreme Court, Bronx County (George R. Villegas, J.), rendered November 28, 2017, convicting defendant, upon his plea of guilty, of criminal sale of a controlled substance in the third degree, adjudicating him a youthful offender, and sentencing him to a conditional discharge for a period of three years, unanimously affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545, 564 [2019], cert denied 589 US , 140 S Ct 2634 [2020]), which precludes review of his argument that the surcharge and fees imposed at sentencing should be vacated pursuant to CPL 420.35(2-a) (see People v Jones, 208 AD3d 1135, 1136 [2022]; People v Count C., 206 AD3d 496 [1st Dept 2022], lv denied 38 NY3d 1187 [2022]). In
any event, we find no basis to vacate defendant's surcharge and fees in the interest of justice (see Jones, 208 AD3d at 1136).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 17, 2023








